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                                                                                                     interim update




   ACOG P RACTICE BULLET IN
                Clinical Management Guidelines for Obstetrician–Gynecologists
Number 193, March 2018                                                          (Replaces Practice Bulletin Number 191, February 2018)

Committee on Practice Bulletins—Gynecology. This Practice Bulletin was developed by the Committee on Practice Bulletins—Gynecology in collabora-
tion with Kurt T. Barnhart, MD, MSCE; and Jason M. Franasiak, MD, TS (ABB).

INTERIM UPDATE: This Practice Bulletin is updated as highlighted to clarify the guidance on the assessment of hCG levels
after uterine aspiration in women with a pregnancy of unknown location.


Tubal Ectopic Pregnancy
Ectopic pregnancy is defined as a pregnancy that occurs outside of the uterine cavity. The most common site of ectopic
pregnancy is the fallopian tube. Most cases of tubal ectopic pregnancy that are detected early can be treated success-
fully either with minimally invasive surgery or with medical management using methotrexate. However, tubal ectopic
pregnancy in an unstable patient is a medical emergency that requires prompt surgical intervention. The purpose
of this document is to review information on the current understanding of tubal ectopic pregnancy and to provide
guidelines for timely diagnosis and management that are consistent with the best available scientific evidence.


Background                                                                can occur and often results in greater morbidity because
                                                                          of delayed diagnosis and treatment (4). An ectopic preg-
Epidemiology                                                              nancy also can co-occur with an intrauterine pregnancy,
According to the Centers for Disease Control and Pre-                     a condition known as heterotopic pregnancy. The risk of
vention, ectopic pregnancy accounts for approximately                     heterotopic pregnancy among women with a naturally
2% of all reported pregnancies (1). However, the true                     achieved pregnancy is estimated to range from 1 in 4,000
current incidence of ectopic pregnancy is difficult to esti-              to 1 in 30,000, whereas the risk among women who have
mate because many patients are treated in an outpatient                   undergone in vitro fertilization is estimated to be as high
setting where events are not tracked, and national surveil-               as 1 in 100 (5, 6).
lance data on ectopic pregnancy have not been updated
since 1992 (1). Despite improvements in diagnosis and
                                                                          Risk Factors
management, ruptured ectopic pregnancy continues to                       One half of all women who receive a diagnosis of an
be a significant cause of pregnancy-related mortality and                 ectopic pregnancy do not have any known risk factors
morbidity. In 2011–2013, ruptured ectopic pregnancy                       (3). Women with a history of ectopic pregnancy are at
accounted for 2.7% of all pregnancy-related deaths and                    increased risk of recurrence. The chance of a repeat ecto-
was the leading cause of hemorrhage-related mortality                     pic pregnancy in a woman with a history of one ectopic
(2). The prevalence of ectopic pregnancy among women                      pregnancy is approximately 10% (odds ratio [OR] 3.0;
presenting to an emergency department with first-trimes-                  95% CI, 2.1–4.4). In a woman with two or more prior
ter vaginal bleeding, or abdominal pain, or both, has been                ectopic pregnancies, the risk of recurrence increases to
reported to be as high as 18% (3).                                        more than 25% (OR, 11.17; 95% CI, 4.0–29.5) (3). Other
                                                                          important risk factors for ectopic pregnancy include pre-
Etiology                                                                  vious damage to the fallopian tubes, factors secondary to
The fallopian tube is the most common location of                         ascending pelvic infection, and prior pelvic or fallopian
ectopic implantation, accounting for more than 90% of                     tube surgery (3, 7). Among women who become preg-
cases (4). However, implantation in the abdomen (1%),                     nant through the use of assisted reproductive technology,
cervix (1%), ovary (1–3%), and cesarean scar (1–3%)                       certain factors such as tubal factor infertility and multiple


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embryo transfer are associated with an increased risk          ization of a gestational sac with a yolk sac or embryo
of ectopic pregnancy (8, 9). Women with a history of           (16). Visualization of a definitive intrauterine pregnancy
infertility also are at increased risk of ectopic pregnancy    eliminates ectopic pregnancy except in the rare case of
independent of how they become pregnant (7). Other             a heterotopic pregnancy. Although a hypoechoic “sac-
less significant risk factors include a history of cigarette   like” structure (including a “double sac sign”) (18) in
smoking and age older than 35 years (7).                       the uterus likely represents an intrauterine gestation, it
     Women who use an intrauterine device (IUD) have           also may represent a pseudogestational sac, which is a
a lower risk of ectopic pregnancy than women who are           collection of fluid or blood in the uterine cavity that is
not using any form of contraception because IUDs are           sometimes visualized with ultrasonography in women
highly effective at preventing pregnancy. However, up          with an ectopic pregnancy (19, 20).
to 53% of pregnancies that occur with an IUD in place
are ectopic (10). Factors such as oral contraceptive use,      Serum Human Chorionic Gonadotropin
emergency contraception failure, previous elective preg-       Measurement
nancy termination, pregnancy loss, and cesarean delivery       Measurement of the serum hCG level aids in the diag-
have not been associated with an increased risk of ectopic     nosis of women at risk of ectopic pregnancy. However,
pregnancy (3, 7, 11, 12).                                      serum hCG values alone should not be used to diagnose
                                                               an ectopic pregnancy and should be correlated with the
Clinical Considerations and                                    patient’s history, symptoms, and ultrasound findings (21,
Recommendations                                                22). Accurate gestational age calculation, rather than an
                                                               absolute hCG level, is the best determinant of when a
    How is an ectopic pregnancy diagnosed?                     normal pregnancy should be seen within the uterus with
                                                               transvaginal ultrasonography (23, 24). An intrauterine
The minimum diagnostic evaluation of a suspected ecto-
                                                               gestational sac with a yolk sac should be visible between
pic pregnancy is a transvaginal ultrasound evaluation and
                                                               5 weeks and 6 weeks of gestation regardless of whether
confirmation of pregnancy. Serial evaluation with trans-
vaginal ultrasonography, or serum hCG level measure-           there are one or multiple gestations (25, 26). In the
ment, or both, often is required to confirm the diagnosis.     absence of such definitive information, the serum hCG
     Women with clinical signs and physical symptoms           level can be used as a surrogate for gestational age to
of a ruptured ectopic pregnancy, such as hemodynamic           help interpret a nondiagnostic ultrasonogram.
instability or an acute abdomen, should be evaluated and            The “discriminatory level” is the concept that there
treated urgently. Early diagnosis is aided by a high index     is a hCG value above which the landmarks of a nor-
of suspicion. Every sexually active, reproductive-aged         mal intrauterine gestation should be visible on ultra-
woman who presents with abdominal pain or vaginal              sonography. The absence of a possible gestational sac
bleeding should be screened for pregnancy, regardless          on ultrasound examination in the presence of a hCG
of whether she is currently using contraception (13, 14).      measurement above the discriminatory level strongly
Women who become pregnant and have known signifi-              suggests a nonviable gestation (an early pregnancy loss
cant risk factors should be evaluated for possible ectopic     or an ectopic pregnancy). In 50–70% of cases, these find-
pregnancy even in the absence of symptoms.                     ings are consistent with an ectopic pregnancy (27–29).
                                                               However, the utility of the hCG discriminatory level
Transvaginal Ultrasonography                                   has been challenged (24) in light of a case series that
Ultrasonography can definitively diagnose an ectopic           noted ultrasonography confirmation of an intrauterine
pregnancy when a gestational sac with a yolk sac, or           gestational sac on follow-up when no sac was noted
embryo, or both, is noted in the adnexa (15, 16); how-         on initial scan and the serum hCG level was above
ever, most ectopic pregnancies do not progress to this         the discriminatory level (30–32). If the concept of
stage (15). The ultrasound findings of a mass or a mass        the hCG discriminatory level is to be used as a diag-
with a hypoechoic area that is separate from the ovary         nostic aid in women at risk of ectopic pregnancy, the
should raise suspicion for the presence of an ectopic          value should be conservatively high (eg, as high as
pregnancy; however, its positive predictive value is only      3,500 mIU/mL) to avoid the potential for misdiagnosis
80% (15) because these findings can be confused with           and possible interruption of an intrauterine pregnancy
pelvic structures, such as a paratubal cyst, corpus luteum,    that a woman hopes to continue (24, 32). Women with a
hydrosalpinx, endometrioma, or bowel. Although an              multiple gestation have higher hCG levels than those
early intrauterine gestational sac may be visualized as        with a single gestation at any given gestational age and
early as 5 weeks of gestation (17), definitive ultrasound      may have hCG levels above traditional discriminatory
evidence of an intrauterine pregnancy includes visual-         hCG levels before ultrasonography recognition (24).



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Trends of Serial Serum Human                                    nosis when possible (16). A woman with a pregnancy
Chorionic Gonadotropin                                          of unknown location who is clinically stable and has a
                                                                desire to continue the pregnancy, if intrauterine, should
A single hCG concentration measurement cannot diag-             have a repeat transvaginal ultrasound examination, or
nose viability or location of a gestation. Serial hCG           serial measurement of hCG concentration, or both, to
concentration measurements are used to differentiate            confirm the diagnosis and guide management (22, 37).
normal from abnormal pregnancies (21, 22, 33, 34).              Follow-up to confirm a diagnosis of ectopic pregnancy
When clinical findings suggest an abnormal gestation, a         in a stable patient, especially at first clinical encounter,
second hCG value measurement is recommended 2 days              is recommended to eliminate misdiagnosis and to avoid
after the initial measurement to assess for an increase or      unnecessary exposure to methotrexate, which can lead to
decrease. Subsequent assessments of hCG concentration           interruption or teratogenicity of an ongoing intrauterine
should be obtained 2–7 days apart, depending on the pat-        pregnancy (16, 38, 39). The first step is to assess for the
tern and the level of change.                                   possibility that the gestation is advancing.
     In early pregnancy, serum hCG levels increase in a              When the possibility of a progressing intrauterine
curvilinear fashion until a plateau at 100,000 mIU/mL           gestation has been reasonably excluded, uterine aspira-
by 10 weeks of gestation. Guidelines regarding the mini-        tion can help to distinguish early intrauterine pregnancy
mal increase in hCG for a potentially viable intrauterine       loss from ectopic pregnancy by identifying the presence
pregnancy have become more conservative (ie, slower             or absence of intrauterine chorionic villi. Choosing
increase) (21, 22) and have been demonstrated to be             the appropriate time and intervention should be done
dependent on the initial value (35). There is a slower          through shared decision making, incorporating the
than expected increase in serum hCG levels for a normal         patient’s values and preferences regarding maternal risk
gestation when initial values are high. For example, the        and the possibility of interrupting a progressing preg-
expected rate of increase is 49% for an initial hCG level       nancy. If chorionic villi are found, then failed intrauter-
of less than 1,500 mIU/mL, 40% for an initial hCG level         ine pregnancy is confirmed and no further evaluation is
of 1,500–3,000 mIU/mL, and 33% for an initial hCG               necessary. If chorionic villi are not confirmed, hCG lev-
level greater than 3,000 mIU/mL (35). In early preg-            els should be monitored, with the first measurement taken
nancy, an increase in serum hCG of less than a minimal          12–24 hours after aspiration. A plateau or increase in hCG
threshold in 48 hours is suspicious of an abnormal preg-        postprocedure suggests that evacuation was incomplete
nancy (ectopic or early pregnancy loss) because 99%             or there is a nonvisualized ectopic pregnancy, and further
of normal intrauterine pregnancies will have a rate of          treatment is warranted. Although the change at which
increase faster than this minimum. However, even hCG            hCG is considered to have plateaued is not precisely
patterns consistent with a growing or resolving gestation       defined, it would be reasonable to consider levels to have
do not eliminate the possibility of an ectopic pregnancy        plateaued if they have decreased by less than 10–15%.
(36).                                                           Large decreases in hCG levels are more consistent with
     Decreasing hCG values suggest a failing pregnancy          failed intrauterine pregnancy than ectopic pregnancy. In
and may be used to monitor spontaneous resolution,              two small series of women undergoing uterine aspiration
but this decrease should not be considered diagnostic.          for pregnancy of unknown location, nearly all women
Approximately 95% of women with a spontaneous early             with a decrease in hCG levels of 50% or greater within
pregnancy loss will have a decrease in hCG concentra-           12–24 hours after aspiration had failed intrauterine preg-
tion of 21–35% in 2 days depending on initial hCG               nancies (29, 40). Patients with a decrease in hCG of 50%
levels (34). A woman with decreasing hCG values and             or greater can be monitored with serial hCG measure-
a possible ectopic pregnancy should be monitored until          ments, with further treatment reserved for those whose
nonpregnant levels are reached because rupture of an            levels plateau or increase, or who develop symptoms
ectopic pregnancy can occur while levels are decreasing         of ectopic pregnancy. Management of patients with an
or are very low.                                                hCG decrease of less than 50% should be individual-
                                                                ized, as while failed intrauterine pregnancy is more fre-
Pregnancy of Unknown Location                                   quent, ectopic pregnancy risk is appreciable. One study
A pregnant woman without a definitive finding of an             (29) noted 55.6% of patients with ectopic pregnancies
intrauterine or ectopic pregnancy on ultrasound exami-          had an hCG decrease of more than 10%, 23.5% had a
nation has a “pregnancy of unknown location” (37). A            decrease of more than 30%, and 7.1% had a decrease
pregnancy of unknown location should not be considered          of more than 50%. In a series of patients who had an
a diagnosis, rather it should be treated as a transient state   initial decrease of hCG levels between 15% and 50%
and efforts should be made to establish a definitive diag-      12–24 hours after office uterine aspiration for pregnancy



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of unknown location who were monitored with serial             of each approach. Women who choose methotrexate
hCG measurement, 3 of 46 patients had rising or pla-           therapy should be counseled about the importance of
teauing hCG levels necessitating treatment for ectopic         follow-up surveillance.
pregnancy (41). The other patients had resolving hCG
levels, and were presumed to have failed intrauterine          Methotrexate
pregnancies. Patients with an hCG decline between 15%          Methotrexate is a folate antagonist that binds to the
and 50% 12–24 hours after aspiration require at least          catalytic site of dihydrofolate reductase, which interrupts
close follow-up with serial hCG measurement, with              the synthesis of purine nucleotides and the amino acids
consideration of treatment for ectopic pregnancy based         serine and methionine, thereby inhibiting DNA synthe-
on clinical factors such as plateau or increase in hCG,        sis and repair and cell replication. Methotrexate affects
development of symptoms, or high clinical suspicion or         actively proliferating tissues, such as bone marrow,
strong risk factors for ectopic pregnancy (29, 40, 41).        buccal and intestinal mucosa, respiratory epithelium,
     There is debate among experts about the need to           malignant cells, and trophoblastic tissue. Systemic meth-
determine pregnancy location by uterine aspiration             otrexate has been used to treat gestational trophoblastic
before providing methotrexate (42, 43). Proponents cite        disease since 1956 and was first used to treat ectopic
the importance of confirming the diagnosis to avoid            pregnancy in 1982 (46). There are no recommended
unnecessary exposure to methotrexate and to help               alternative medical treatment strategies for ectopic preg-
guide management of the current pregnancy and future           nancy beyond intramuscular methotrexate. Although
pregnancies (37, 42). Arguments against the need for a         oral methotrexate therapy for ectopic pregnancy has
definitive diagnosis include concern about the increased       been studied, the outcomes data are sparse and indicate
risk of tubal rupture because of delay in treatment while      that benefits are limited (47).
diagnosis is established and the increased health-care
costs associated with additional tests and procedures          Contraindications
(43). However, with close follow-up during this diagnos-
tic phase, the risk of rupture is low. In one large series     Box 1 lists absolute and relative contraindications to
with serial hCG measurement of women with pregnan-             methotrexate therapy (45). Before administering metho-
cies of unknown location, the risk of rupture of an ecto-      trexate, it is important to reasonably exclude the presence
pic pregnancy during surveillance to confirm diagnosis         of an intrauterine pregnancy. In addition, methotrexate
was as low as 0.03 % among all women at risk and as            administration should be avoided in patients with clini-
low as 1.7% among all ectopic pregnancies diagnosed            cally significant elevations in serum creatinine, liver
(22). In addition, presumptive treatment with methotrex-       transaminases, or bone marrow dysfunction indicated
ate has not been found to confer a significant cost savings    by significant anemia, leukopenia, or thrombocytope-
or to decrease the risk of complications (44). The choice      nia. Because methotrexate affects all rapidly dividing
of performing a uterine aspiration before treatment with       tissues within the body, including bone marrow, the
methotrexate should be guided by a discussion with the         gastrointestinal mucosa, and the respiratory epithelium,
patient regarding the benefits and risks, including the risk   it should not be given to women with blood dyscrasias
of teratogenicity in the case of an ongoing intrauterine       or active gastrointestinal or respiratory disease. However,
pregnancy and exposure to methotrexate.                        asthma is not an exclusion to the use of methotrexate.
                                                               Methotrexate is directly toxic to the hepatocytes and
    Who are candidates for medical management                  is cleared from the body by renal excretion; therefore,
    of ectopic pregnancy?                                      methotrexate typically is not used in women with liver
                                                               or kidney disease.
Medical management with methotrexate can be con-                    Relative contraindications for the use of methotrex-
sidered for women with a confirmed or high clinical            ate (Box 1) do not serve as absolute cut-offs but rather
suspicion of ectopic pregnancy who are hemodynami-             as indicators of potentially reduced effectiveness in
cally stable, who have an unruptured mass, and who             certain settings. For example, a high initial hCG level
do not have absolute contraindications to methotrexate         is considered a relative contraindication. Systematic
administration (45). These patients generally also are         review evidence shows a failure rate of 14.3% or
candidates for surgical management. The decision for           higher with methotrexate when pretreatment hCG levels
surgical management or medical management of ectopic           are higher than 5,000 mIU/mL compared with a 3.7%
pregnancy should be guided by the initial clinical, labo-      failure rate for hCG levels less than 5,000 mIU/mL
ratory, and radiologic data as well as patient-informed        (48). Of note, studies often have excluded patients from
choice based on a discussion of the benefits and risks         methotrexate treatment when hCG levels are greater than



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                                   Box 1. Contraindications to Methotrexate Therapy 
                        Absolute Contraindications                          Relative Contraindications
                        • Intrauterine pregnancy                            • Embryonic cardiac activity detected
                        • Evidence of immunodeficiency                        by transvaginal ultrasonography
                        • Moderate to severe anemia,                        • High initial hCG concentration
                          leukopenia, or thrombocytopenia                   • Ectopic pregnancy greater than
                        • Sensitivity to methotrexate                         4 cm in size as imaged by
                                                                              transvaginal ultrasonography
                        • Active pulmonary disease
                                                                            • Refusal to accept blood transfusion
                        • Active peptic ulcer disease
                        • Clinically important hepatic
                          dysfunction
                        • Clinically important renal dysfunction
                        • Breastfeeding
                        • Ruptured ectopic pregnancy
                        • Hemodynamically unstable patient
                        • Inability to participate in follow-up
                        Modified from Medical treatment of ectopic pregnancy: a committee opinion. Practice Committee of
                        American Society for Reproductive Medicine. Fertil Steril 2013;100:638–44.




5,000 mIU/mL based on expert opinion that these lev-                        trexate regimen involves up to 8 days of treatment with
els are a relative contraindication to medical manage-                      alternating administration of methotrexate and folinic
ment. Other predictors of methotrexate treatment failure                    acid, which is given as a rescue dose to minimize the
include the presence of an advanced or rapidly growing                      adverse effects of the methotrexate.
gestation (as evidenced by fetal cardiac activity) and a                         The overall treatment success of systemic metho-
rapidly increasing hCG concentration (greater than 50%                      trexate for ectopic pregnancy, defined as resolution of
in 48 hours) (48–50).                                                       the ectopic pregnancy without the need for surgery,
                                                                            in observational studies ranges from approximately
    What methotrexate regimens are used in the                              70% to 95% (55). Resolution of an ectopic pregnancy
    management of ectopic pregnancy, and how                                may depend on the methotrexate treatment regimen used
    do they compare in effectiveness and risk of                            and the initial hCG level. However, there is no clear con-
                                                                            sensus in the literature regarding the optimal methotrex-
    adverse effects?
                                                                            ate regimen for the management of ectopic pregnancy.
There are three published protocols for the administra-                     The choice of methotrexate protocol should be guided
tion of methotrexate to treat ectopic pregnancy: 1) a                       by the initial hCG level and discussion with the patient
single-dose protocol (51), 2) a two-dose protocol (52),                     regarding the benefits and risks of each approach. In gen-
and 3) a fixed multiple-dose protocol (53) (Box 2). The                     eral, the single-dose protocol may be most appropriate
single-dose regimen is the simplest of the three regi-                      for patients with a relatively low initial hCG level or a
mens; however, an additional dose may be required to                        plateau in hCG values, and the two-dose regimen may be
ensure resolution in up to one quarter of patients (54,                     considered as an alternative to the single-dose regimen,
55). The two-dose regimen was first proposed in 2007                        particularly in women with an initial high hCG value.
in an effort to combine the efficacy of the multiple-dose
protocol with the favorable adverse effect profile of the                   Single-Dose Versus Multiple-Dose
single-dose regimen (55). The two-dose regimen adheres                      Observational studies that compared the single-dose and
to the same hCG monitoring schedule as the single-dose                      multiple-dose regimens have indicated that although
regimen, but a second dose of methotrexate is adminis-                      the multiple-dose regimen is statistically more effective
tered on day 4 of treatment. The multiple-dose metho-                       (92.7% versus 88.1%, respectively; P=.035) (single-dose



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                                                Box 2. Methotrexate Treatment Protocols 

           Single-dose regimen*
           • Administer a single dose of methotrexate at a dose of 50 mg/m2 intramuscularly on day 1
           • Measure hCG level on posttreatment day 4 and day 7
              — If the decrease is greater than 15%, measure hCG levels weekly until reaching nonpregnant level
              — If decrease is less than 15%, readminister methotrexate at a dose of 50 mg/m2 intramuscularly and repeat hCG
                level
              — If hCG does not decrease after two doses, consider surgical management
           • If hCG levels plateau or increase during follow-up, consider administering methotrexate for treatment of a persis-
             tent ectopic pregnancy

           Two-dose regimen†
           • Administer methotrexate at a dose of 50 mg/m2 intramuscularly on day 1
           • Administer second dose of methotrexate at a dose of 50 mg/m2 intramuscularly on day 4
           • Measure hCG level on posttreatment day 4 and day 7
              — If the decrease is greater than 15%, measure hCG levels weekly until reaching nonpregnant level
              — If decrease is less than 15%, readminister methotrexate 50 mg/m2 intramuscularly on day 7 and check hCG lev-
                els on day 11
              — If hCG levels decrease 15% between day 7 and
                day 11, continue to monitor weekly until reaching nonpregnant levels
              — If the decrease is less than 15% between day 7
                and day 11, readminister dose of methotrexate
                50 mg/m2 intramuscularly on day 11 and check hCG levels on day 14
              — If hCG does not decrease after four doses,
                consider surgical management
           • If hCG levels plateau or increase during follow-up, consider administering methotrexate for treatment of a persis-
             tent ectopic pregnancy
           Fixed multiple-dose regimen‡
           • Administer methotrexate 1 mg/kg intramuscularly on days 1, 3, 5, 7; alternate with folinic acid 0.1 mg/kg intra-
             muscularly on days 2, 4, 6, 8
           • Measure hCG levels on methotrexate dose days and continue until hCG has decreased by 15% from its previ-
             ous measurement
              — If the decrease is greater than 15%, discontinue administration of methotrexate and measure hCG levels weekly
                until reaching nonpregnant levels (may ultimately need one, two, three, or four doses)
              — If hCG does not decrease after four doses, consider surgical management
           • If hCG levels plateau or increase during follow-up, consider administering methotrexate for treatment of a persis-
             tent ectopic pregnancy
           Abbreviation: hCG, human chorionic gonadotropin.
           *Stovall TG, Ling FW. Single-dose methotrexate: an expanded clinical trial. Am J Obstet Gynecol 1993;168:1759-62; discussion 1762–5.
           †
            Barnhart K, Hummel AC, Sammel MD, Menon S, Jain J, Chakhtoura N. Use of “2-dose” regimen of methotrexate to treat ectopic
           pregnancy. Fertil Steril 2007;87:250–6.
           ‡
            Rodi IA, Sauer MV, Gorrill MJ, Bustillo M, Gunning JE, Marshall JR, et al. The medical treatment of unruptured ectopic pregnancy with metho-
           trexate and citrovorum rescue: preliminary experience. Fertil Steril 1986;46:811–3.




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failure OR, 1.71; 95% CI, 1.04–2.82), the single-dose           ment, unless there is clear evidence of a tubal ectopic
regimen is associated with a decreased risk of adverse          pregnancy. Ultrasound surveillance of resolution of an
effects (OR, 0.44; 95% CI, 0.31–0.63) (55). However, a          ectopic pregnancy is not routinely indicated because
more recent systematic review of randomized controlled          findings do not predict rupture or time to resolution
trials showed similar rates of successful resolution with       (59, 60). Resolution of serum hCG levels after medical
the single-dose and multiple-dose regimens (relative            management is usually complete in 2–4 weeks but can
risk [RR], 1.07; 95% CI, 0.99–1.17) and an increased            take up to 8 weeks (55). The resolution of hCG levels is
risk of adverse effects with the multiple-dose protocol         significantly faster in patients successfully treated with
(RR, 1.64; 95% CI, 1.15–2.34) (56).                             the two-dose methotrexate regimen compared with the
                                                                single-dose regimen (25.7+13.6 versus 31.9 +14.1 days;
Single-Dose Versus Two-Dose                                     P>.025) (57).
A systematic review and meta-analysis of three random-
ized controlled trials showed similar rates of successful           What are the potential adverse effects of
resolution for the two-dose and single-dose protocols               systemic methotrexate administration?
(RR, 1.09; 95% CI 0.98–1.20) and comparable risk of             Adverse effects of methotrexate usually are dependent
adverse effects (RR, 1.33; 95% CI, 0.92–1.94) (56).             on dose and treatment duration. Because methotrex-
However, in two of the three trials included in the             ate affects rapidly dividing tissues, gastrointestinal
review, the two-dose regimen was associated with                problems (eg, nausea, vomiting, and stomatitis) are
greater success among women with high initial hCG               the most common adverse effects after multiple doses.
levels. In the first trial, there was a nonstatistically sig-   Vaginal spotting is expected. It is not unusual for women
nificant trend toward greater success for the two-dose          treated with methotrexate to experience abdominal pain
regimen in the subgroup with an initial hCG level greater       2–3 days after administration, presumably from the cyto-
than 5,000 mIU/mL (80.0% versus 58.8%, P=.279) (RR,             toxic effect of the drug on the trophoblastic tissue. In the
0.74; 95% CI, 0.47–1.16) (57). The second trial reported        absence of signs and symptoms of overt tubal rupture
a statistically significant higher success rate for the two-    and significant hemoperitoneum, abdominal pain usually
dose regimen versus the single-dose regimen in patients         can be managed expectantly by monitoring a woman’s
with initial serum hCG levels between 3,600 mIU/mL              hemoglobin level and intraperitoneal fluid amount with
and 5,500 mIU/mL (88.9% versus 57.9%, P=.03)                    transvaginal ultrasonography.
(OR 5.80; 95% CI, 1.29–26.2) (58).                                   Elevation of liver enzymes is a less commonly
                                                                reported adverse effect and typically resolves after
    What surveillance is needed after                           discontinuing methotrexate use (61). Alopecia also is a
    methotrexate treatment?                                     rare adverse effect of the low doses used to treat ecto-
After administration of methotrexate treatment, hCG             pic pregnancy. Cases of pneumonitis also have been
levels should be serially monitored until a nonpreg-            reported, and women should be counseled to report any
nancy level (based upon the reference laboratory assay)         fever or respiratory symptoms to their physicians (62).
is reached (51). Close monitoring is required to ensure
                                                                    How should women be counseled regarding
disappearance of trophoblastic activity and to eliminate
the possibility of persistent ectopic pregnancy. During             the treatment effects of methotrexate?
the first few days after treatment, the hCG level may           Patients treated with methotrexate should be counseled
increase to levels higher than the pretreatment level but       about the risk of ectopic pregnancy rupture; about
then should progressively decrease to reach a nonpreg-          avoiding certain foods, supplements, or drugs that can
nant level (51). Failure of the hCG level to decrease           decrease efficacy; and about the importance of not
by at least 15% from day 4 to day 7 after methotrexate          becoming pregnant again until resolution has been
administration is associated with a high risk of treatment      confirmed. It is important to educate patients about the
failure and requires additional methotrexate administra-        symptoms of tubal rupture and to emphasize the need
tion (in the case of the single-dose or two-dose regimen)       to seek immediate medical attention if these symptoms
or surgical intervention (51). Methotrexate treatment           occur. Vigorous activity and sexual intercourse should
failure in patients who did not undergo pretreatment            be avoided until confirmation of resolution because of
uterine aspiration should raise concern for the pres-           the theoretical risk of inducing rupture of the ectopic
ence of an abnormal intrauterine gestation. In these            pregnancy. Additionally, practitioners should limit pel-
patients, uterine aspiration should be considered before        vic and ultrasound examinations when possible. Patients
repeat methotrexate administration or surgical manage-          should be advised to avoid folic acid supplements, foods



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that contain folic acid, and nonsteroidal antiinflamma-       approach. Surgical management of ectopic pregnancy is
tory drugs during therapy because these products may          required when a patient is exhibiting any of the follow-
decrease the efficacy of methotrexate. Avoidance of nar-      ing: hemodynamic instability, symptoms of an ongoing
cotic analgesic medications, alcohol, and gas-producing       ruptured ectopic mass (such as pelvic pain), or signs of
foods are recommended so as not to mask, or be con-           intraperitoneal bleeding.
fused with, escalation of symptoms of rupture. Sunlight            Surgical management is necessary when a patient
exposure also should be avoided during treatment to           meets any of the absolute contraindications to medical
limit the risk of methotrexate dermatitis (63).               management listed in Box 1 and should be considered
     Before treatment with methotrexate, women should         when a patient meets any of the relative contraindica-
be counseled about the potential for fetal death or terato-   tions. Surgical management should be employed when a
genic effects when administered during pregnancy. The         patient who initially elects medical management experi-
product labeling approved by the U.S. Food and Drug           ences a failure of medical management. Surgical treat-
Administration recommends that women avoid preg-              ment also can be considered for a clinically stable patient
nancy during treatment and for at least one ovulatory         with a nonruptured ectopic pregnancy or when there is
cycle after methotrexate therapy (63). Methotrexate is        an indication for a concurrent surgical procedure, such
cleared from the serum before the 4–12 weeks necessary        as tubal sterilization or removal of hydrosalpinx when
for the resolution of the ectopic gestation and ovulation     a patient is planning to undergo subsequent in vitro
in the next cycle (64, 65). However, there are reports        fertilization.
of methotrexate detectable in liver cells 116 days past            Surgical management generally is performed using
exposure (66). Limited evidence suggests that the fre-        laparoscopic salpingectomy (removal of part or all of the
quency of congenital anomalies or early pregnancy loss        affected fallopian tube) or laparoscopic salpingostomy
is not elevated in women who have become pregnant             (removal of the ectopic pregnancy while leaving the
shortly after methotrexate exposure (66). However,            affected fallopian tube in situ). Laparotomy typically
perhaps based on the timing of methotrexate’s clearance       is reserved for unstable patients, patients with a large
from the body, some experts continue to recommend that        amount of intraperitoneal bleeding, and patients in
women delay pregnancy for at least 3 months after the         whom visualization has been compromised at laparos-
last dose of methotrexate (67).                               copy.

    How does methotrexate treatment affect                        How do medical management and surgical
    subsequent fertility?                                         management of ectopic pregnancy compare
Patients can be counseled that available evidence,                in effectiveness and risk of complications?
although limited, suggests that methotrexate treatment        Medical management of ectopic pregnancy avoids the
of ectopic pregnancy does not have an adverse effect on       inherent risks of surgery and anesthesia. However,
subsequent fertility or on ovarian reserve. A prospective     compared with laparoscopic salpingectomy, medical
observational study noted no difference in anti-müllerian     management of ectopic pregnancy has a lower success
hormone levels or reproductive outcomes after adminis-        rate and requires longer surveillance, more office visits,
tration of methotrexate (68). Furthermore, a systematic       and phlebotomy. Randomized trials that compared medi-
review of women undergoing fertility treatment found          cal management of ectopic pregnancy with methotrexate
no significant differences in the mean number of oocytes      to laparoscopic salpingostomy have demonstrated a
retrieved during the cycles before and after methotrexate     statistically significant lower success rate with the use
administration (69).                                          of single-dose methotrexate (relative rate for success,
                                                              0.82; 95% CI, 0.72–0.94) and no difference with the use
    Who are candidates for surgical management
                                                              of multidose methotrexate (relative rate for success, 1.8;
    of ectopic pregnancy?                                     95% CI, 0.73–4.6) (70). Comparing systemic methotrex-
In clinically stable women in whom a nonruptured ecto-        ate with tube-sparing laparoscopic surgery, randomized
pic pregnancy has been diagnosed, laparoscopic surgery        trials have shown no difference in overall tubal preserva-
or intramuscular methotrexate administration are safe         tion, tubal patency, repeat ectopic pregnancy, or future
and effective treatments. The decision for surgical man-      pregnancies (70).
agement or medical management of ectopic pregnancy                 Medical management of ectopic pregnancy is cost
should be guided by the initial clinical, laboratory, and     effective when laparoscopy is not needed to make the
radiologic data as well as patient-informed choice            diagnosis and hCG values are less 1,500 mIU/mL (71).
based on a discussion of the benefits and risks of each       Surgical management of ectopic pregnancy is more cost



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effective if time to resolution is expected to be pro-        hCG level is less than 200 mIU/mL, 88% of patients
longed, or there is a relatively high chance of medi-         will experience spontaneous resolution; lower spontane-
cal management failure, such as in cases with high or         ous resolution rates can be anticipated with higher hCG
increasing hCG values or when embryonic cardiac activ-        levels (75). In a single small randomized trial of women
ity is detected (72, 73).                                     with hCG levels less than 2,000 mIU/mL, expectant
                                                              management was not associated with a statistically
    How do salpingostomy and salpingectomy                    significant lower treatment success than single-dose
    compare in effectiveness and fertility out-               methotrexate for the management of ectopic pregnancy
    comes in the management of ectopic                        (59% versus 76%, respectively) (RR, 1.3; 95% CI,
    pregnancy?                                                0.9–1.8) (76). Reasons for abandoning expectant man-
                                                              agement include intractable or significantly increased
The decision to perform a salpingostomy or salpingec-         pain, insufficient decrease of hCG levels, or tubal rup-
tomy for the treatment of ectopic pregnancy should be         ture with hemoperitoneum.
guided by the patient’s clinical status, her desire for
future fertility, and the extent of fallopian tube damage.
Randomized controlled trials that compared salpingec-
tomy with salpingostomy for the management of ectopic         Summary of
pregnancy have found no statistically significant differ-     Recommendations
ence in the rates of subsequent intrauterine pregnancy
(RR, 1.04; 95% CI, 0.899–1.21) or repeat ectopic preg-        The following recommendations are based on
nancy (RR, 1.30; 95% CI, 0.72–2.38) (74). In contrast,        good and consistent scientific evidence (Level A):
cohort study findings indicate that salpingostomy is
                                                                  In clinically stable women in whom a nonruptured
associated with a higher rate of subsequent intrauterine
                                                                  ectopic pregnancy has been diagnosed, laparoscopic
pregnancy (RR, 1.24; 95% CI, 1.08–1.42) but also with
                                                                  surgery or intramuscular methotrexate administra-
an increased risk of repeat ectopic pregnancy (10% ver-
                                                                  tion are safe and effective treatments. The decision
sus 4%; RR, 2.27; 95% CI, 1.12–4.58) compared with
                                                                  for surgical management or medical management of
salpingectomy (74).
                                                                  ectopic pregnancy should be guided by the initial
     In general, salpingectomy is the preferred approach
                                                                  clinical, laboratory, and radiologic data as well as
when severe fallopian tube damage is noted and in cases
                                                                  patient-informed choice based on a discussion of the
in which there is significant bleeding from the proposed
surgical site. Salpingectomy can be considered in cases           benefits and risks of each approach.
of desired future fertility when the patient has a healthy        Surgical management of ectopic pregnancy is
contralateral fallopian tube. However, salpingostomy              required when a patient is exhibiting any of the fol-
should be considered in patients who desire future fertil-        lowing: hemodynamic instability, symptoms of an
ity but have damage to the contralateral fallopian tube           ongoing ruptured ectopic mass (such as pelvic pain),
and in whom removal would require assisted reproduc-              or signs of intraperitoneal bleeding.
tion for future childbearing. When salpingostomy is
performed, it is important to monitor the patient with        The following recommendations are based on lim-
serial hCG measurement to ensure resolution of ectopic        ited or inconsistent scientific evidence (Level B):
trophoblastic tissue. If there is concern for incomplete
resection, a single prophylactic dose of methotrexate             Serum hCG values alone should not be used to diag-
may be considered (45).                                           nose an ectopic pregnancy and should be correlated
                                                                  with the patient’s history, symptoms, and ultrasound
    Who are candidates for expectant manage-                      findings.
    ment of diagnosed ectopic pregnancy?                          If the concept of the hCG discriminatory level is to
There may be a role for expectant management of ecto-             be used as a diagnostic aid in women at risk of ecto-
pic pregnancy in specific circumstances. Candidates for           pic pregnancy, the value should be conservatively
successful expectant management of ectopic pregnancy              high (eg, as high as 3,500 mIU/mL) to avoid the
should be asymptomatic; should have objective evidence            potential for misdiagnosis and possible interruption
of resolution (generally, manifested by a plateau or              of an intrauterine pregnancy that a woman hopes to
decrease in hCG levels); and must be counseled and will-          continue.
ing to accept the potential risks, which include tubal rup-       The decision to perform a salpingostomy or salpin-
ture, hemorrhage, and emergency surgery. If the initial           gectomy for the treatment of ectopic pregnancy



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    should be guided by the patient’s clinical status, her          Patients treated with methotrexate should be coun-
    desire for future fertility, and the extent of fallopian        seled about the risk of ectopic pregnancy rupture;
    tube damage.                                                    about avoiding certain foods, supplements, or drugs
    The choice of methotrexate protocol should be                   that can decrease efficacy; and about the importance
    guided by the initial hCG level and discussion with             of not becoming pregnant again until resolution has
    the patient regarding the benefits and risks of each            been confirmed.
    approach. In general, the single-dose protocol may
    be most appropriate for patients with a relatively
    low initial hCG level or a plateau in hCG values,          References
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    ant management in women with an ectopic pregnancy
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                                                                                             than one center or research group.
                                                                                      II-3 Evidence obtained from multiple time series with or
                                                                                             with­out the intervention. Dra­mat­ic re­sults in un­con­
                                                                                             trolled ex­per­i­ments also could be regarded as this
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